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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

S&S RV CENTRE, INC., et al.,

       Plaintiffs and Counter-Defendants,
                                                               Case Number 1:06-cv-94
v.
                                                               Honorable Wendell A. Miles
KEYSTONE RV COMPANY,

       Defendant and Counter-Plaintiff,

v.

JOHN DOE #1, et al.,

      Defendants.
____________________________________/

                                     JOINT STATUS REPORT

       A Rule 16 Scheduling Conference is scheduled for Monday, March 20, 2006, at 10:00

a.m. before United States Magistrate Judge Hugh Brenneman. Appearing for the parties as

counsel will be: Brad Groom of Parmenter O'Toole, Local Counsel for Plaintiffs, and Geoffrey

Fields of Dickinson Wright, PLLC, on behalf of defendant Keystone RV Company

("Keystone").

       (1)      Jurisdiction. The basis for the Court's jurisdiction is 28 U.S.C. § 1332 due to

diversity of citizenship. The Court also has original jurisdiction over Keystone's Counterclaim

pursuant to 28 U.S.C. §§ 1331 and 1338, because Keystone asserts a claim for relief under the laws

of the United States in Counts II and III. Thus, the Court has supplemental jurisdiction over Count

I of this Counterclaim pursuant to 28 U.S.C. § 1367. Plaintiffs further submit that, if the identity of

a John Doe is discovered and he/she resides in the State of Michigan, Plaintiffs reserve the right to
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file a motion to remand this action back to State court on the grounds that the action lacks diversity

of citizenship.

        (2)       Jury or Non-Jury. This case is to be tried before a Jury.

        (3)       Judicial Availability. The parties do agree to have a United States Magistrate

Judge conduct any and all further proceedings in the case, including trial, and to order the entry

of final judgment.

        (4)       Geographic Transfer. The parties are advised of the possibility, pursuant to W.D.

Mich. L.Civ.R. 3.3(h), of a transfer of the action to a judge located in a different city, on the

basis of the convenience of counsel, the parties, or witnesses. Reassignment of the action shall

be at the discretion of the Court and shall require the consent of all parties and of both the

transferor and transferee judge. The parties agree that a transfer for geographic convenience is

not required in this case.

        (5)       Statement of the Case.

                  (a)    Plaintiff's Statement

        This case involves a dispute between Plaintiffs, who engage in the sale of and service of

recreational vehicles (hereinafter "RV"), and Keystone, which manufactures RV's. Plaintiffs

allege they had a Distribution Agreement with Montana, a Division of Defendant Keystone.

Plaintiffs contend that on or about July 8, 2005, Defendant Keystone notified Lakeshore that it

was discontinuing Plaintiffs as a Montana product line distributor. Plaintiffs further allege that

Keystone's position lacks good cause, was not procedurally proper or timely, and is in violation

of the Michigan Dealer Act and Michigan Common Law.
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               (b)     Keystone's Statement

       Keystone denies liability to Plaintiffs and anticipates engaging in a rigorous motion

practice regarding the claims asserted in their Complaint. In the first place, plaintiffs Adam

Sobczak and Sean Sobczak lack standing to assert any claim against Keystone, which had an oral

agreement with plaintiff S&S RV Centre, Inc., d.b.a. Lakeshore RV ("Lakeshore"). As for

Lakeshore, which claims wrongful termination of the oral agreement, Keystone's defenses include

the following: (a) Lakeshore cannot prevail on its breach of contract claim based on Keystone's

decision to terminate an at-will oral agreement; (b) Lakeshore cannot assert a claim under the

Michigan Dealer Act, because there was no written agreement, and because Keystone sold non-

motorized vehicles to Lakeshore; (c) the existence of an oral agreement, coupled with the Statute of

Frauds, bars any claim for breach of good faith/fair dealing, quantum meruit, or promissory

estoppel; (d) Keystone did not owe, and therefore could not breach, a fiduciary duty in this

commercial relationship; (e) there is no basis in law or fact to assert a Michigan antitrust claim; (f)

Plaintiffs cannot assert a standalone conspiracy claim under Michigan law; and (g) Michigan law

precludes punitive damages. In its Counterclaim, Keystone asks the Court to rule that Plaintiffs

may not assert any claim for relief under the Michigan Dealer Act, for reasons set forth above;

and Keystone asserts claims under Sections 32 and 43 of the Lanham Act, 15 U.S.C. § § 1114

and 1125(a), arising from misuse of trademark rights.

       (6)     Pendent State Claims.

       Plaintiffs submit that all of the claims in this action are pendent state claims and that they

allege that the facts clearly establish Keystone's wrongful conduct, ulterior motives, and establish

sufficient facts to establish common law and statutory violations of Michigan law including, but

not limited to, breach of an oral agreement, quantum meruit, breach of Michigan Dealer Act,
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breach of fiduciary duty, promissory estoppel, breach of Anti-Trust Reform Act, conspiracy, and

potentially other causes of action.

        Keystone submits that this case does not include pendent state cla ims, except to the

extent that the Court has supplemental jurisdiction over Count I of the Counterclaim as a result

of Keystone's federal claims.

        (7)     Joinder of Parties and Amendment of Pleadings. The parties expect to file all

motions for joinder of parties to this action and file all motions to amend the pleadings by April

20, 2006.

        (8)     Disclosures and Exchanges:

        (i)     Fed.R.Civ.P.26(a)(1) disclosures should be made by May 19, 2006.

        (ii)    Plaintiffs should furnish the names of their expert witnesses to Keystone by May

19, 2006. Keystone should furnish the names of its expert witnesses to plaintiffs by June 19,

2006.    In this case, would be advisable to exchange written expert witness reports as

contemplated by Fed.R.Civ.P. 26(a)(2).

        (iii)   The parties have agreed to make available the following documents without the

need of a formal request for production: all documents that evidence any agreement between the

parties; and all documents that evidence any communication between the parties.

        (9)     Discovery. The parties believe that all discovery proceedings can be completed by

September 20, 2006. The parties expect to exchange documents and take depositions of the

principal representatives of Plaintiffs and Keystone. No party should take more than eight

depositions or issue more than 20 interrogatories without prior permission from the Court.

        (10)    Motions : The parties anticipate that all dispositive motions will be filed by

October 20, 2006. The parties acknowledge that it is the policy of this Court to prohibit the
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consideration of non-dispositive discovery motions unless accompanied by a certification that

the moving party has made a reasonable and good faith effort to reach agreement with opposing

counsel on the matters set forth in the motion.

          (11)     Alternative Dispute Resolution: Plaintiffs propose that this case be submitted to

Michigan case evaluation. Keystone proposes that the case be submitted to voluntary facilitative

mediation after an appropriate period for conducting discovery, including exchange of

documents.

           (12)    Length of Trial: Counsel estimate the trial will last approximately three to five

days, total.

          (13)     Prospects of Settlement. The status of settlement negotiations is: the parties have

met without counsel to discuss the possibility of settlement.

APPROVED AND SIGNED:

PARMENTER O'TOOLE                                     DICKINSON WRIGHT PLLC
Attorneys for Plaintiff                               Attorneys for Defendant


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